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 4
   Attorney for:
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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 12-CR-00409 GEB
12                                Plaintiff,               STIPULATION REGARDING
                                                           EXCLUDABLE TIME PERIODS
13   v.                                                    UNDER SPEEDY TRIAL ACT;
                                                           [PROPOSED] FINDINGS AND
14   NINA NGUYEN, et. al.,                                 ORDER
15                                Defendants,
16

17                                              STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant NINA
19
     NGUYEN, by and through her counsel of record, hereby stipulate as follows:
20
            1.      By previous order, this matter was set for status on February 22, 2013, at 9 a.m.
21
            2.      By this stipulation, defendant now moves to continue the status conference until April
22

23 5, 2013, and to exclude time between February 22, 2013, and April 5, 2013, under Local Code T4.

24 Plaintiff does not oppose this request.

25          3.      The parties agree and stipulate, and request that the Court find the following:
26          a.      The government has produced approximately 4,844 pages of discovery to the defense.
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            b.      Counsel for defendant desires additional time to review the document discovery,
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                                                       1
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     consult with the client regarding the discovery, conduct investigation, and to discuss potential
 1
     resolution with his client and the government.
 2

 3          c.      Counsel for defendant believes that failure to grant the above-requested continuance

 4 would deny defendant the reasonable time necessary for effective preparation, taking into account

 5 the exercise of due diligence.

 6
            d.      The government does not object to the continuance.
 7
            e.      Based on the above-stated findings, the ends of justice served by continuing the case
 8
     as requested outweigh the interest of the public and the defendant in a trial within the original date
 9

10 prescribed by the Speedy Trial Act.

11          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

12 seq., within which trial must commence, the time period of February 22, 2013, to April 5, 2013,

13 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

14
     because it results from a continuance granted by the Court at defendant’s request on the basis of the
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     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
16
     public and the defendant in a speedy trial.
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                                Case 2:12-cr-00409-TLN Document 17 Filed 02/21/13 Page 3 of 3


                           4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 1
     the Speedy Trial Act dictate that additional time periods are excludable from the period
 2

 3 within which a trial must commence.

 4 IT IS SO STIPULATED.

 5

 6 DATED:                          February 20, 2013
 7
                                                          /s/ Lee Bickley___________________
 8                                                        LEE BICKLEY
                                                          Assistant United States Attorney
 9

10 DATED:                          February 20, 2013
11
                                                          /s/ Scott Cameron
12                                                        SCOTT N. CAMERON
                                                          Counsel for Defendant
13

14
                                                                 ORDER
15

16                         IT IS SO FOUND AND ORDERED.
17 Date: 2/21/2013

18                                                           ___________________________________
                                                             GARLAND E. BURRELL, JR.
19
                                                             Senior United States District Judge
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     DEAC_Signature-END:




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